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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

 UNITED STATES OF AMERICA,

                Plaintiff,
                                                               4:22-cr-00199-SHL-HCA
 vs.

 BRADLEY EUGENE WENDT and ROBERT                                        ORDER
 ALLEN WILLIAMS,

                Defendants.


       The Government has moved to strike Defendant Williams’s Supplemental Reply to

Government’s Response on Motion for Discovery and Protective Order. ECF No. 93. The

Government alleges that the supplemental reply is in essence a sur-reply, which is not

contemplated by the Local Rules, and for which Defendant Williams did not obtain leave of

Court to file. The Government is 100 percent correct in that regard.

       Defendant Williams has filed a resistance to the motion to strike, in which he now

belatedly seeks permission of the Court for the filing of his supplemental reply. ECF No. 94.

Because the underlying discovery motion is of great import to the parties and the Court, the

Court will grant Defendant Williams permission to file his supplemental reply, which is already

in the docket at ECF No. 91. The Court is not requesting or granting any further briefing to be

filed with respect to the Motion for Discovery and Protective Order. If the Court has further

questions for the parties about that pending motion, the Court will schedule oral argument.

       The Court provides this further guidance to the parties about the Court’s expectations of

the parties and counsel going forward in this case. The parties shall be aware of and comply with

all applicable Local Rules including LR 7. Only the briefs contemplated by LR 7 shall be filed

unless the Court grants authorization for the filing of any additional briefing. The parties’
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motions and briefs should focus on relevant legal issues and supporting caselaw, and derogatory

comments about opposing counsel shall be left out of the documents filed with the Court. The

parties are also reminded of their obligation under LR7(k) to confer with opposing counsel

before filing non-dispositive motions and to include information about the other party’s position

in the motion. The Court expects compliance with this guidance.

       For the reason set forth above, the Court denies the Government’s Motion to Strike

Defendant Williams’ Supplemental Reply to Government’s Response on Motion for Discovery

and Protective Order. ECF No. 93.

       IT IS SO ORDERED.

       Dated February 22, 2023.




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